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GAS 245B          (Rev, 1 1/16) Judgment in a Criminal Case
DC Custody TSR



                                          United States District Court
                                                       SOUTHERN DISTRICT OF GEORGIA
                                                                SAVANNAH DIVISION

             UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                   V.

                         Eugene Harrison
                                                                                  Case Number:                  4:I7CR00095-2

                                                                                   USM Number:                  22082-021




                                                                                  D. Campbell Bowman,Jr.
THE DEFENDANT:                                                                    Defendant's Attorney

ISl pleaded guilty to Count
□ pleaded nolo contendere to Count(s)                           which was accepted by the court.

□ was found guilty on Count(s)                           after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                   Nature of Offense                                                                   Offense Ended         Count


18 U.S.C. § 371,                  Conspiracy to pass counterfeited obligations                                       October 11, 2016
18 U.S.C. §472

      The defendant is sentenced as provided in pages 2 through                        of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)
^ Counts         2 through 13                 are dismissed as to this defendant on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                               January 29. 2018
                                                                               Date of Imposition of Judgment




                                                                               Signature of Judge



           y                     rnURT                                         William T. Moore, Jr.
           Sv,            UiiUffiC Q8.                                         Judge, U.S. District Court
                      led in
                                                                               Name and Title of Judge

                                          20i5s_
                                                                                                                2^/A
                                                                               Date
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